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                          IN THE UNITED STATES DISTRICT CO RT
                               NORTHERN DISTRICT OF TEXAS
                                                                                               OCT 3 1 2018
                                   FORT WORTH DIVISION
                                                                                      CLERK, U.S. DISTRICT COURT
MARK ROETEN, ET AL.,                                   §                                BY--..,,,---,----
                                                       §
                                                                                                   Deputy
                 Plaintiffs,                           §
                                                       §
vs.                                                    §    NO. 4:18-CV-695-A
                                                       §
DEVOS, LTD., D/B/A GUARANTEED                          §
RETURNS,                                               §
                                                       §
                 Defendant.                            §


                                                   ORDER

        Came on for consideration the motion of defendant, Devos,

Ltd., to dismiss. The court, having considered the motion, the

response of plaintiffs, Mark Roeten ("Roeten") and Med-Turn, Inc.

d/b/a Inmar ("Inmar"), the reply,' the record, and applicable

authorities, finds that the motion should be granted.

                                                      I.

                                        Plaintiffs' Claims

        Roeten is a salesman who formerly worked for defendant. In

connection with his employment by defendant, Roeten signed a

series of related documents including a covenant not to compete.

Since May 1, 2017, Roeten has been employed by Inmar, a direct

competitor of defendant. Defendant has sent a letter to Inmar's

counsel alleging that Roeten's employment by Inmar is in

violation of the restrictive covenants.


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          The court notes that it is not necessary to consider, and that it has not considered, the additional
affidavits submitted by defendant in support of its reply.
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        Plaintiffs maintain that defendant breached its employment

agreement with Roeten when it, its chief executive officer, and

chief financial officer were indicted and convicted of multiple

fraud counts, which had the effect of releasing Roeten from his

contractual obligations to defendant. Plaintiffs assert causes of

action for breach of contract and tortious interference and seek

a declaratory judgment that the restrictive covenants in Roeten's

contract with defendant are unenforceable.

                                                  II.

                                  Grounds of the Motion

        Defendant urges five grounds in support of its motion:                               (1)

the court lacks general jurisdiction over it;                              (2) the court lacks

specific jurisdiction over it;                    (3) the court lacks subject matter

jurisdiction over this action;                    (4) plaintiffs' tortious

interference claim fails to state a cause of action; and (5)

plaintiffs' declaratory judgment claim should be dismissed. Doc.'

13.

                                                 III.

                             Applicable Legal Principles

A.      Personal Jurisdiction

        The burden is on plaintiffs to establish the court's

jurisdiction over defendant. Wilson v. Belin, 20 F.3d 644, 648


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         The "Doc.   "reference is to the number of the item on the docket in this action.

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(5th Cir. 1994); Stuart v. Spademan, 772 F.2d 1185, 1192          (5th Cir.

1985) . Personal jurisdiction need not be established by a

preponderance of the evidence at this stage; prima facie evidence

is sufficient.    Johnston v. Multidata Sys. Int'l Corp., 523 F.3d

602, 609    (5th Cir. 2008); WNS, Inc. v. Farrow, 884 F.2d 200, 203

(5th Cir. 1989). The court may resolve jurisdictional issues by

reviewing pleadings, affidavits, exhibits, any part of the

record, and any combination thereof. Command-Aire Corp. v.

Ontario Mech. Sales & Serv., Inc., 963 F.2d 90, 95          (5th Cir.

1992). Allegations of plaintiffs' complaint are taken as true

except to the extent that they are contradicted by defendant's

evidence, such as affidavits. Wyatt v. Kaplan, 686 F.2d 276, 282-

83 n.13    (5th Cir. 1982). Any genuine, material conflicts are

resolved in favor of plaintiffs. Luv N'care, Ltd. v. Insta-Mix,

Inc., 438 F.3d 465, 469    (5th Cir. 2006); Jones v. Petty-Ray

Geophysical Geosource, Inc., 954 F.2d 1061, 1067 (5th Cir. 1992)

     In a diversity action, personal jurisdiction over a

nonresident may be exercised if (1) the nonresident defendant is

amenable to service of process under the law of the forum state,

and (2) the exercise of jurisdiction under state law comports

with the due process clause of the Fourteenth Amendment. Wilson,

20 F.3d at 646-47. Since the Texas long-arm statute has been

interpreted as extending to the limits of due process, the only


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inquiry is whether the exercise of jurisdiction over the

nonresident defendants would be constitutionally permissible.

Bullion v. Gillespie, 895 F.2d 212, 216       (5~   Cir. 1990).

     For due process to be satisfied, a nonresident must have

minimum contacts with the forum state resulting from an

affirmative act on the defendant's part and the contacts must be

such that the exercise of jurisdiction over the person of the

defendant does not of fend traditional notions of fair play and

substantial justice. International Shoe Co. v. Washington, 326

U.S. 310, 316   (1945);   Fielding v. Hubert Burda Media, Inc., 415

F.3d 419, 425   (5th Cir. 2005). The "minimum contacts" prong of

the due process requirement can be satisfied by a finding of

either "specific" or "general" jurisdiction over the nonresident.

Bullion,   895 F.2d at 216.

     For specific jurisdiction to exist, the foreign defendant

must purposefully do some act or consummate some transaction in

the forum state and the cause of action must arise from or be

connected with such act or transaction. Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 475 (1985). Even if the controversy does

not arise out of or relate to the nonresident's purposeful

contacts with the forum, general jurisdiction may be exercised

when the nonresident defendant's contacts with the forum are

sufficiently continuous and systematic as to support the


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reasonable exercise of jurisdiction. Helicopteros Nacionales de

Colombia, S.A. v. Hall, 466 U.S. 408, 416                            (1984); Perkins v

Benguet Consol. Mining Co., 342 U.S. 437                           (1952). When general

jurisdiction is asserted, the minimum contacts analysis is more

demanding and requires a showing of substantial activities within

the forum state. Jones, 954 F.2d at 1068. As the Supreme Court

has recently explained, the proper consideration when determining

general jurisdiction is whether the defendant's affiliations with

the state are so continuous and systematic as to render it

"essentially at home" in the forum state.' Daimler AG v. Bauman,

571 U.S. 117, 138-39 (2014) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915,                           919 (2011)). A

corporation's place of incorporation and principal place of

business are the places where it is at home and are thus paradigm

bases for jurisdiction. Id. at 137. A corporation is not '\at

home" in every state where it engages in a substantial,

continuous, and systematic course of business. Id. at 137-38, 139

n. 20.

B.       Pleading Standards

         Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.


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         ln BNSF Ry. Co. v. Tyrrell, the Supreme Court made clear that the Daimler test "applies to all
state-comi asse1iions of general jurisdiction over nomesident defendants; the constraint does not vary
with the type of claim asse1ied or business enterprise sued." 137 S. Cl. 1549, 1559 (2017).

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It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. B(a) (2),   "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)          (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing•

contemplated by Rule 8 requires the plaintiffs to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true,    it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009)    ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.")

        Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiffs' right to relief is plausible. Iqbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court


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to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .         [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of

Housing & Urban Dev., 554 F.3d 525, 528 (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint

must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29.

     In considering a motion to dismiss for failure to state a

claim, the court may consider documents attached to the motion if

they are referred to in the plaintiffs' complaint and are central

to the plaintiffs' claims. Scanlan v. Tex. A&M Univ., 343 F.3d

533, 536   (5th Cir. 2003). The court may also refer to matters of

public record. Davis v. Bayless, 70 F.3d 367, 372 n.3          (5th Cir.

1995); Cinel v. Connick, 15 F.3d 1338, 1343 n.6         (5th Cir. 1994).


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This includes taking notice of pending judicial proceedings.

Patterson v. Mobil Oil Corp., 335 F.3d 476, 481 n.l (5th Cir.

2003). And, it includes taking notice of governmental websites.

Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457             (5th Cir.

2005); Coleman v. Dretke, 409 F.3d 665, 667            (5th Cir. 2005).

                                      IV.

                                   Analysis

A.      Personal Jurisdiction

        In its first ground, defendant maintains that exercise of

general jurisdiction over it is not proper as it is not •at home•

in Texas. Plaintiffs do not make any response in this regard,

apparently recognizing the validity of the argument.

        In its second ground, defendant argues that exercise of

specific jurisdiction is improper as plaintiffs cannot establish

that their claims arise out of defendant's conduct in Texas. The

court agrees.

       The record establishes: Roeten is a citizen of Louisiana.

Doc. 1 at 4,     ~   10. He was hired by defendant to service

pharmacies in the Louisiana and Gulf Coast regions. Id.             ~   16.

Specifically, Roeten serviced customers for defendant in Alabama,

Mississippi, Louisiana, and, occasionally, parts of Florida. Doc.

15 at APP 004. Defendant is a corporation organized under the

laws of the State of New York, having its principal place of


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business in Holbrook, New York. Doc. 1, , 12. Defendant does not

have any offices in Texas. Doc. 15 at APP 003. Roeten signed four

separate documents when he was hired by defendant. Doc. 1, , 17.

Together, they constitute the contract between the parties. Id.

The document titled "Covenant" provides, among other things,           that

during Roeten's employment and for a period of 36 months

thereafter, Roeten will not engage in any capacity in any

business or activity competitive with defendant's business. Doc.

18 at APP 021. That document provides that it shall be governed

by and interpreted under the laws of the State of New York. Id.

at APP 024. The contract documents were executed in New York. Id.

at APP 011, APP 024.

     Further: In 2014, Roeten learned that defendant, its chief

executive officer, and chief financial officer were under

indictment in the Eastern District of Pennsylvania. Doc. 1 at 6,

, 22; Doc. 18 at APP 005. And, he learned that they were

convicted on a number of counts. Doc. 18 at APP 005.          (Defendant's

chief executive officer permanently resigned in December 2014 and

was not thereafter involved in management or control of

defendant. Doc. 15 at APP 005. All individuals charged were

replaced by a new management team. Id.) Roeten terminated his

relationship with defendant in April 2017. Doc. 18 at APP 006. He

began working for Inmar on or around May 1, 2017. Id. Inmar is a


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competitor of defendant's and Roeten performs similar tasks for

Inmar. Id. Prior to its hiring of Roeten, Inmar had been notified

by defendant' that its employees routinely sign covenants not to

compete and agreements prohibiting them from sharing confidential

information. Doc. 15 at APP 005, APP 0068-0070, APP 0071.                                   On or

about April 28, 2017, defendant sent Roeten a letter 5 enclosing a

copy of the Covenant document and reminding him of his

obligations under their contract. Id. at APP 0065-0067, APP 0072.

By letter dated July 11, 2018, defendant notified Inmar 6 that

Roeten was in violation of his restrictive covenants and that

defendant might proceed with litigation against plaintiffs if

Roeten's employment was not terminated. Id. at APP 007-0057.

       Plaintiffs allege that defendant breached its contract with

Roeten by promising to pay Roeten while knowing it was engaged in

a scheme to defraud Roeten a portion of his commissions, Doc. 1

, 40, and failing to ensure that pertinent information regarding

fraud and other crimes committed by defendant were communicated

to Roeten, id. , 41. And, they allege that defendant violated its

implied covenant of good faith and fair dealing by committing




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        The letter, dated April 26, 2017, was addressed to Inmar's "EVP-General Counsel" in Winston-
Salem, North Carolina. Doc. 15 at App 0068.

       'The letter was addressed to Roeten in Plaquemine, Louisiana. Doc. 15 at APP 0065.

       'The letter was addressed to an attorney in Dallas, Texas. Doc. 15 at APP 007.

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criminal acts, lying to Roeten, and defrauding the client base on

which Roeten relied to earn his commissions. Id.                                    ~   42. There is

no basis for concluding that any of these acts occurred in

Texas. 7

         The alleged tortious interference claim is apparently based

on the single letter from defendant's counsel to Inmar's counsel.

Doc. 1      ~~   8, 55. The mere sending of a cease and desist letter,

however, does not establish a basis for the exercise of personal

jurisdiction over defendant. Ham v. LaCieneqa Music Co., 4 F.3d

413 & n. 14 (5th Cir. 1993); Dallas Texans Soccer Club v. Major

League Soccer Players Union, 247 F. Supp. 3d 784, 790                                        (E.D. Tex.

2017); Boyd Tech, Inc. v. Boyd Tech, Inc.                               (Florida), No. H-18-

0972, 2018 WL 3581709, at *8 (S.D. Tex. July 25, 2018) . 8

        Finally, plaintiffs have not shown that defendant's

purposeful acts in Texas give rise to their declaratory judgment

claim. See Dallas Texans Soccer Club, 247 F. Supp. 3d at 790.

But, even if they had, the decision to exercise jurisdiction over




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          Even ifthere were evidence to support the insinuation that the contract was executed in Texas,
that fact would not support the exercise of personal jurisdiction over defendant, given that the contract is
governed by New York law and Roeten's performance was centered elsewhere. Holt Oil & Gas Corp. v.
Harvey, 801 F.2d 773, 778 (5th Cir. 1986).
        8
         To the extent that the unpublished opinion in SGS-Thomson Micro-Electronics, Inc. v. Ferris,
55 F.3d 632, 1995 WL 313932 (5th Cir. May 1, 1995), is still viable in light ofrecent Supreme Court
opinions regarding personal jurisdiction, the court notes that the letter at issue in that case threatened the
plaintiffs activities in the forum state. Here, Roeten continues to serve states other than Texas.

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a request for declaratory judgment lies within the court's

discretion. Wilton v. Seven Falls Co., 515 U.S. 277, 288               (1995);

Torch, Inc. v. LeBlanc, 947 F.2d 193, 194              (5th Cir. 1991). In

this case, the court would decline to do so. It appears that the

filing of this lawsuit was the result of a race to the

courthouse, when venue would be more proper elsewhere. The matter

to be declared concerns a New York contract to which New York law

applies. The parties to the contract are citizens of states other

than Texas and the contract does not concern activities in Texas.

B.      Remaining Grounds

        Because the court lacks personal jurisdiction over

defendant, there is no need to discuss the remaining grounds of

the motion.

                                       v.

                                     Order

        The court ORDERS that defendant's motion to dismiss be, and

is hereby, granted, and plaintiffs' claims against defendant be,

and are hereby, dismissed for lack of personal jurisdiction.



        SIGNED October 31, 2018.




                                                                  Judge


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